Case 4:17-cv-00516-MW-CAS Document 29 Filed 05/15/18 Page 1 of 2




      UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

JOHN DOE,

            Plaintiff,

v.                                   Case No. 4:17cv516-MW/CAS

FLORIDA STATE UNIVERSITY
BOARD OF TRUSTEES, et al.,

           Defendants.
__________________________/

 ORDER REQUIRING PRODUCTION OF INFORMATION
      PROTECTED UNDER 20 U.S.C. § 1232(G)

      This Court has considered, without hearing, Plaintiff’s

Consented Motion for Order Requiring Production of Material

Protected by 20 U.S.C. § 1232(G), ECF No. 27, and Plaintiff’s

Amended Consented Motion for Order Requiring Production of

Material Protected by 20 U.S.C. § 1232(G), ECF No. 28. The

motions, ECF Nos. 27 & 28, are GRANTED. Defendant is ordered

to produce documents responsive to Plaintiff’s requests numbered

5, 11, 12, 14, 16, and 31. Plaintiff must comply with the provisions

of 20 U.S.C. § 1232(G), including not disseminating the

information to third parties without the written consent of the



                                 1
Case 4:17-cv-00516-MW-CAS Document 29 Filed 05/15/18 Page 2 of 2



impacted parties and destroying the information in question at the

conclusion of the litigation.

      SO ORDERED on May 15, 2018.

                                s/Mark E. Walker          ____
                                United States District Judge




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